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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JENNIFER McLIN, as Administrator of the Estate         )
of WILLIAM HOPE, Jr.,                                  )
                        Plaintiff,                     )
           vs.                                         )       No. 10 C 5076
                                                       )
CITY OF CHICAGO, et al.,                               )       Judge Kennelly
                                                       )
                                Defendants.            )

                                         AGREED ORDER
       This matter coming before the court pursuant to a stipulation among the parties in this
cause as to the judgment entered in this cause and statutory attorneys’ fees and costs, the court
being advised,
       IT IS ORDERED:
       1.        Defendant City of Chicago will pay Four Million, Five Hundred Sixty-Seven
Thousand, Eight Hundred Twenty Eight Dollars and no cents ($4,567,828) by March 29, 2013,
to Plaintiff Jennifer McLin, Administrator of the Estate of William Hope, Jr., and Parts &
Spencer, Ltd.
       2.        Defendants will incorporate the events that formed the basis of this action into a
Chicago Police Department training scenario. Defendants St. Clair and Ugarte will participate in
the development and presentation of the training scenario.
       3.        This total sum to be paid and the additional terms of the stipulation represent full
satisfaction of the entire judgment in this matter against all defendants, including attorneys’ fees
and costs.


                                                       Entered:


                                                       ________________________
                                                       MATTHEW F. KENNELLY
                                                       United States District Judge
